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ILHAN OMAR
5TH District, MINNESOTA

CONGRESS OF THE UNITED STATES
House OF REPRESENTATIVES
WASHINGTON, D.C. 2O515

November 19, 2019

Hon. Frank P. Geraci, Jr.

Chief United States District Judge
U.S. Courthouse

100 State Street

Rochester, New York 14614

Honorable Judge Geraci,

As you deliberate the sentencing of Patrick W. Carlineo, Jr.,a man convicted of threatening my
life, | write to ask for a system of compassion to be applied in his sentencing.

There is no doubt that Mr. Carlineo’s crime is grave. Threatening assassination of a public
official in our country is dangerous to both the individual and our republic. Our fragile
democratic system rests on the peaceful election of those in power. As someone who fled a war

zone, I know how destabilizing acts of political violence can be.

That his threat of violence relied on hateful stereotypes about my faith only makes it more
dangerous. This was not just a threat against me as an individual —it was a threat against an
entire religion, at a time of rising hate crimes against religious minorities in our country.

But we must ask: who are we as a nation if we respond to threats of political retribution with
retribution ourselves?

The answer to hate is not more hate; it is compassion. Punishing the defendant with a lengthy
prison sentence or a burdensome financial fine would not rehabilitate him. It would not repair the
harm he has caused. It would only increase his anger and resentment.

A punitive approach to criminal justice will not stop criminals like Mr. Carlineo from
committing a crime again or prevent others from committing similar acts. Only restorative justice
can do that. He should understand the consequences of his actions, be given the opportunity to
make amends and seek redemption.

If we truly want to prevent crimes like Mr. Carlineo’s, we must address the root causes of these
crimes. The desire to commit violence is not inherent in people. People who threaten or commit
violence are often themselves the victims of systemic alienation and neglect. They seek violence
because they are taught violence. We must address this systemic alienation through community

reintegration and social services.
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Threats of political violence and hate speech are not unique to Mr. Carlineo. They are an
increasing feature in our public sphere. We will not defeat it with anger and exclusion. We will
defeat it with compassion.

As Nelson Mandela said, “People must learn to hate, and if they can learn to hate, they can be
taught to love.”

We must teach the defendant love.

For this reason, I do not believe the defendant would be served by a severe prison sentence or
substantial financial fine and ask you to show compassion in your sentencing.

Thank you for your careful consideration,

 

Ilhan Omar
Member of Congress
